                  IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE DISTRICT OF PUERTO RICO



IN RE:                                               CASE NO: 18-03190-ESL

JESUS MORALES MIRANDA
DORCAS NAZARIO RIVERA                                CHAPTER 11


         DEBTOR (S)
                                 /



           DISCLOSURE STATEMENT FOR PLAN OF REORGANIZATION
                          DATED MARCH 18, 2019




                      Jesús Enrique Batista Sánchez, Esq.
                        The Batista Law Group, PSC
                                 P.O. Box 191059
                               San Juan, PR 00919
                                 (787) 620-2856
       1. INTRODUCTION

    This is the disclosure statement (the “Disclosure Statement”) in the small business chapter 11
case of Jesus Morales Miranda and Dorcas Nazario Rivera. This Disclosure Statement contains
information about the Debtors and describes the Small Business Plan of Reorganization (the
“Plan”) filed by the Debtors on March 18, 2019. A full copy of the Plan is attached to this Disclosure
Statement as Exhibit A. Your rights may be affected. You should read the Plan and this
Disclosure Statement carefully and discuss them with your attorney. If you do not have an
attorney, you may wish to consult one.

    The proposed distributions under the Plan are discussed at pages 7 through 9 of this Disclosure
Statement. General Unsecured Creditors are classified in Class 10. Unsecured creditors are
projected to receive a distribution of $12,000.00 which equals approximately a 2.50 % distribution
of their Allowed Claims1. Distributions to Unsecured Creditors will be made via sixty (60)
monthly payments of $200.00 commencing on the first day of the 61st month following the
Effective Date of the Plan.

           A. Purpose of This Document

           This Disclosure Statement describes:

       •   The Debtors and significant events during the bankruptcy case,
       •   How the Plan proposes to treat claims or equity interests of the type you hold (i.e., what
           you will receive on your claim or equity interest if the plan is confirmed),
       •   Who can vote on or object to the Plan,
       •   What factors the Bankruptcy Court (the “Court”) will consider when deciding whether to
           confirm the Plan,
       •   Why the Debtors believes the Plan is feasible, and how the treatment of your claim or
           equity interest under the Plan compares to what you would receive on your claim or equity
           interest in liquidation, and
       •   The effect of confirmation of the Plan.

   Be sure to read the Plan as well as the Disclosure Statement. This Disclosure Statement
describes the Plan, but it is the Plan itself that will, if confirmed, establish your rights.

           B. Deadlines for Voting and Objecting; Date of Plan Confirmation Hearing

        The Court has not yet confirmed the Plan described in this Disclosure Statement. This
section describes the procedures pursuant to which the Plan will or will not be confirmed.

                    1. Time and Place of the Hearing to Finally Approve This Disclosure Statement
                       and Confirm the Plan.


1
    See, Chart of Claims attached hereto as Exhibit F.
                                                         2
        On ____________________ a Hearing shall be held before the Honorable Enrique
Lamoutte at the United States Bankruptcy Court, District of Puerto Rico, José V. Toledo Federal
Building & US Courthouse 300 Recinto Sur Street, Courtroom # ____, San Juan, Puerto Rico
00901 to determine whether to finally approve this Disclosure Statement and confirm the Plan (the
“Confirmation Hearing”). The Court will fix the last day for the filing and serving of written
objections to the disclosure statement and confirmation of the plan.

               2. Deadline For Voting to Accept or Reject the Plan.

        If you are entitled to vote to accept or reject the plan, vote on the enclosed ballot and return
the ballot in the enclosed envelope to The Batista Law Group, PSC., PO Box 191059, San Juan,
PR 00919. See section IV. A. below for a discussion of voting eligibility requirements.

       Your ballot must be received before                         at 5:00 p.m EST. or it will not be
counted.


               3. Deadline For Objecting to the Adequacy of Disclosure and Confirmation of the
               Plan.

       Objections to this Disclosure Statement or to the confirmation of the Plan must be filed
with the Court and served upon the Debtors by                     .

               4. Identity of Person to Contact for More Information

       If you want additional information about the Plan, you should contact:

                       The Batista Law Group, PSC
                       Jesús E. Batista Sánchez, Esq.
                       PO Box 191059
                       San Juan, PR 00919
                       Tel: (787) 620-2856
                       Fax: (787) 625-0259
                       Email: jeb@batistasanchez.com

       C. Disclaimer

         The Court has conditionally approved this Disclosure Statement as containing
adequate information to enable parties affected by the Plan to make an informed judgment
about its terms. The Court has not yet determined whether the Plan meets the legal
requirements for confirmation, and the fact that the Court has approved this Disclosure
Statement does not constitute an endorsement of the Plan by the Court, or a recommendation
that it be accepted. The Court’s approval of this Disclosure Statement is subject to final
approval at the hearing on confirmation of the Plan. Objections to the adequacy of this
Disclosure Statement may be filed until                        .


                                                   3
 II. BACKGROUND

       A. Description and History of the Debtors’ Business

          The Debtors are individuals. The Debtors generate income from three sources: (a)
 business income generated by the Debtor’s wholly owned business, Ferreterias Morales; (b) the
 Debtor’s professional services income that results from Mr. Morales’ construction work, and (c)
 rental income generated by the Debtors rental properties. In addition, the Debtors own four
 unimproved vacant pieces of land which they are presently marketing for sale.

       B. Insiders of the Debtors

      The “insider” of Debtors are Mr. Jesus Morales Miranda and Mrs. Dorcas Nazario Rivera
who, combined, own 100.00% of the shares/equity of the Debtor and/or property of the Estate.

        C. Management of the Debtors Before and During the Bankruptcy

          During the two years prior to the date on which the bankruptcy petition was filed (and
 after), the officers, directors, managers or other persons in control of the Debtors (collectively
 the “Manager”) were the Debtors themselves.

          After the Effective Date, the directors, officers, and voting trustees of the Debtors, any
 affiliate of the Debtors participating in a joint Plan with the Debtors, or successor of the Debtors
 under the Plan (collectively the “Post Confirmation Managers”), will also be Mr. Jesus Morales
 Miranda. Further explanation of the responsibilities and compensation of these Post
 Confirmation Managers are described in Section III. D. below of this Disclosure Statement.

        D. Events Leading to Chapter 11 Filing

        The Bankruptcy Petition in this case was filed because the Debtor’s real properties were
  subject to foreclosure. This, in turn, as a result of the pre-Maria decline in the general Puerto
  Rico economy with a specific focus in the construction industry. Because of the above, the
  Debtor’s Ferreteria business as well as the construction work performed by the Debtor himself
  saw significant declienes. This in turn impacted the Debtor’s ability to keep his mortgage
  payments up-date and the default which ensued lead to the filing of this case.

        E. Significant Events During the Bankruptcy Case

       On June 5, 2018 the Petition Date, the Debtor filed a voluntary petition for relief under Chapter
11 of the United States Bankruptcy Code. Since that time, the Debtors have operated their financial
affairs as Debtors and Debtors in Possession.




                                                   4
           The Debtor have closed all pre-petition bank accounts. All Monthly Operating Reports, through
    the month ending January 2019, have been filed. Upon information and belief, Quarterly Fees payable
    to the United States Trustee have been paid.
      The 341 Meeting of Creditors was held on July 13, 2018 at 9:00 AM. Since, on July 16, 2 0 1 8
(Dk. #23) this Court entered an Order approving Jesus E. Batista Sanchez, Esq., as Counsel of
Record.

            F. Projected Recovery of Avoidable Transfers.

           At this juncture, the Debtors have not identified pre-petition transfers which are subject to
    avoidance. The Debtors’ investigation with respect to pre-petition transfers is on-going. If you
    received a payment or other transfer within 90 days of the bankruptcy, or other transfer avoidable
    under the Code, the Debtors may seek to avoid such transfer.

            G. Claims Objections

            Except to the extent that a claim is already allowed pursuant to a final non-appealable order,
    the Debtors reserve the right to object to claims. Therefore, even if your claim is allowed for voting
    purposes, you may not be entitled to a distribution if an objection to your claim is later upheld. The
    procedures for resolving disputed claims are set forth in Article V of the Plan. Unless otherwise
    ordered by this Honorable Court, any objection to a proof of claim (i.e., “Claim Objections”) will be
    filed on or before the 30th following the Effective Date of the Plan.

            H. Current and Historical Financial Conditions

           The identity of the estate’s assets is listed in Exhibit D. As of the Petition Date, the Debtors’
    Assets and Liabilities reflected assets with a book value in the amount of $888,942.06 and Liabilities
    in the amount of $560,020.54.

          As of the date of the filing of this Disclosure Statement, the Debtors’ primary assets were the
    Debtor’s real properties. The Debtors real properties were recently appraised, with estimated
    values as follows: (a) the Bo. Maguelles Carr 664 KM 1.5, Barecoloneta Property, a/k/a the
    “Primary Residence” has an estimated value of $245,000.00; (b) the Ave. Los Rosales #126,
    Parcelas Imberry, Barceoloneta, PR (the “Ave. Los Rosales #126 Property”) has an estimated
    value of $160,000.00; (c) the Calle Almendra #9 Parc. Imberry, Bar celoneta, PR (the “Calle
    Almendra #9 Property”) has an estimated value of $80,000.00; (d) the Ave. Los Rosales, #208,
    Parceolas Imberry, Barceoloneta, PR (the “Commercial Property”) has an estimated value of
    $95,000.00; and (e) the vacant lots located at Sect. Manantiales, BO. Sabana Hoyos, Areceibo,
    PR (the “Vacan Land”) has a combined1 estimated value of $132,000.00. In addition, the Debtor
    also scheduled vehicles with an estimated value of $27,700.00 and business related personal
    property with an estimated value of $28,932.06.

          The Debtors primary liabilities correspond to secured claims against the Debtors real properties in
    the estimated amount of $560,000.00 and Unsecured Claims of $450,000. See Exhibits D and E.

1
    There are four vacant lots with values of $26,000.00; $28,000.00,
                                                             5        $28,000.00, and $50,000.00.
III.   SUMMARY OF THE PLAN OF REORGANIZATION AND TREATMENT OF
       CLAIMS AND EQUITY INTERESTS

       A. What is the Purpose of the Plan of Reorganization?

      As required by the Code, the Plan places claims and equity interests in various classes and
describes the treatment each class will receive. The Plan also states whether each class of claims
or equity interests is impaired or unimpaired. If the Plan is confirmed, your recovery will be
limited to the amount provided by the Plan.

       B. Unclassified Claims

       Certain types of claims are automatically entitled to a specific treatment under the Code.
They are not considered impaired, and holders of such claims do not vote on the Plan. They
may, however, object if, in their view, their treatment under the Plan does not comply with that
required by the Code. As such, the Plan Proponent has not placed the following claims in any
class:

               1. Administrative Expenses

        Administrative expenses are costs or expenses of administering the Debtors’ chapter 11
case which are allowed under § 507(a)(2) of the Code. Administrative expenses also include the
value of any goods sold to the Debtors in the ordinary course of business and received within 20
days before the date of the bankruptcy petition. The Code requires that all administrative
expenses be paid on the effective date of the Plan, unless a particular claimant agrees to a
different treatment.

       The following chart lists the Debtors’ estimated administrative expenses and their
proposed treatment under the Plan:

              Type             Estimated Amount              Proposed Treatment
                                      Owed
 Expenses Arising in the       Less than $1,000.00 Paid in full on the effective date of the
 Ordinary Course of Business                       Plan, or according to terms of
 After the Petition Date                           obligation if later.
 The Value of Goods Received $0.00                 Paid in full on the effective date of the
 in the Ordinary Course of                         Plan, or according to terms of
 Business Within 20 Days                           obligation if later.
 Before the Petition Date
 Professional Fees, as         $5,000.00           Paid in full on the effective date of the
 approved by the Court, and                        Plan, or according to separate written
 expected to be owed as of the                     agreement, or according to court order
 Effective Date of the Plan.                       if such fees have not been approved by
                                                   the Court on the effective date of the
                                                   Plan.


                                                 6
 Clerk’s Office Fees               $0.00                   Paid in full on the effective date of the
                                                           Plan
 Other administrative expenses $0.00                       Paid in full on the effective date of the
                                                           Plan or according to separate written
                                                           agreement
 Office of the U.S. Trustee        $0.00                   Paid in full on the effective date of the
 Fees                                                      Plan
 Total                             $6,000.00


          C. Classes of Claims and Equity Interests

        The following are the classes set forth in the Plan, and the proposed treatment that they will
receive under the Plan:

                  1. Classes of Secured Claims

        Allowed Secured Claims are claims secured by property of the Debtors’ bankruptcy estate (or
that are subject to setoff) to the extent allowed as secured claims under § 506 of the Code. If the
value of the collateral or setoffs securing the creditor’s claim is less than the amount of the creditor’s
allowed claim, the deficiency will be classified as a Class 9 General Unsecured Claim, unless the
creditor’s claim is secured only by collateral which is the Debtors’ property.




                                                   7
Class              Description              Insider   Impair              Treatment
                                                       ment

 1      Class 1 – Allowed Secured            No       Yes      Debtors will satisfy the Class 1
        Claim of PRCI Loan CR., LLC,                           Claim via monthly payments as
        as to Debtor’s Primary                                 follows:
        Residence: Class 1 consists of the                      (a) The Allowed Class 1 Claim
        Allowed Secured Claim of PRCI                               will be in the amount of
        Loan CR., LLC., (“PRCI”), which                             $245,000.00;
        arises from a pre-petition                              (b) Payments will be amortized
        mortgage lien on Debtor’s Primary                           over 240 months (20 years);
        Residence. PRCI filed Proof of                          (c) Yearly Rate of Interest equal to
        Claims #3, 4, and 5 in the                                  5.50%;
        cumulative amount of                                    (d) Term: (i) fifty-nine (59)
        $1,138,489.11. If allowed, PRCI                             monthly payments in the
        will have an Allowed Class 1                                amount of $1,685.32; and (ii)
        Claim in the amount of                                      one (1) balloon payment of any
        $245,000.00. PRCI has also been                             remaining balance due on or
        scheduled with Secured Claims in                            before the last day of the
        Classes 1, 2, 3, 4, and 5. PRCI’s                           sixtieth month following the
        Allowed Claim minus the                                     Effective Date of the Plan;
        cumulative Secured Allowed                              (e) Debtor to maintain the Primary
        Claims in Classes 1, 2, 3, 4, and 5,                        Residence duly insured at all
        respectively, shall be deemed an                            relevant time. Debtors will
        Allowed General Unsecured Claim                             also pay for CRIM taxes as
        in Class #9.                                                they come due. Payments will
                                                                    commence on the first day of
                                                                    the first month following the
                                                                    Effective Date;
                                                                (f) PRCI shall release its lien as to
                                                                    the Primary Residence upon
                                                                    satisfaction of the Allowed
                                                                    Class 1 Claim.




                                                  8
2    Class 2 - Allowed Secured           No   YES   Debtors will satisfy the Class 2 Claim
     Claim of PRCI LOAN CR.,                        via monthly payments as follows:
     LLC (“PRCI”) secured by                        (a) The Allowed Class 2 Claim will be
     Debtor’s Ave. Los Rosales #126                     in the amount of $160,000.00;
     Property. Class 2 consists of the              (b) Payments will be amortized over
     Allowed Secured Claim of PRCI                      240 months (20 years);
     Loan CR., LLC., (“PRCI”),                      (c) Yearly Rate of Interest equal to
     which arises from a pre-petition                   5.50%;
     mortgage lien on Debtor’s Ave.                 (d) Term: (i) fifty-nine (59) monthly
     Los Rosales #126 Property                          payments in the amount of
     PRCI filed Proof of Claims #3, 4,                  $1,100.62; and (ii) one (1) balloon
     and 5 in the cumulative amount                     payment of any remaining balance
     of $1,138,489.11. If allowed,                      due on or before the last day of the
     PRCI will have and Allowed                         sixtieth month following the
    Class 2 Claim will be in the                        Effective Date of the Plan;
    amount of $160,000.00. PRCI has                 (e) Debtors will maintain the Ave.
    also been scheduled with Secured                    Los Rosales #126 Property duly
    Claims in Classes 1, 2, 3, 4, and 5.                insured at all relevant times.
    PRCI’s Allowed Claim minus the                      Debtors will also pay for CRIM
    cumulative Secured Allowed                          taxes as they come due. Payments
    Claims in Classes 1, 2, 3, 4, and 5,                will commence on the first day of
    respectively, shall be deemed an                    the first month following the
    Allowed General Unsecured Claim                     Effective Date of the Plan;
    in Class #9.                                    (f) PRCI shall release its lien as to the
                                                        Ave. Los Rosales #126 Property
                                                        upon satisfaction of the Allowed
                                                        Class 2 Claim.
    Class 3 – Allowed Secured                    Debtors will satisfy the Class 3 Claim
3   Claim of PRCI LOAN CR., LLC No         Yes   via monthly payments as follows:
    (“PRCI”) secured by Debtor’s                  (a) The Allowed Class 3 Claim will be
    Calle Almendra #9 Property.                       in the amount of $80,000.00;
    Class 3 consists of the Allowed               (b) Payments will be amortized over
    Secured Claim of PRCI Loan CR.,                   240 months (20 years);
    LLC., (“PRCI”), which arises from             (c) Yearly Rate of Interest equal to
    a pre-petition mortgage lien on                   5.50%;
    Debtor’s Calle Almendra #9                    (d) Term: (i) fifty-nine (59) monthly
    Property. PRCI filed Proof of                     payments in the amount of
    Claims #3, 4, and 5 in the                        $550.31; and (ii) one (1) balloon
    cumulative amount of                              payment of any remaining balance
    $1,138,489.11. If allowed, PRCI                   due on or before the last day of the
    will have an Allowed Class 3                      sixtieth month following the
    Claim in the amount of                            Effective Date of the Plan;
    $80,000.00. PRCI has also been                (e) Debtors will maintain the Calle
    scheduled with Secured Claims in                  Almendra #9 Property duly
    Classes 1, 2, 3, 4, and 5. PRCI’s                 insured at all relevant times.
    Allowed Claim minus the                           Debtors will also pay for CRIM
    cumulative Secured Allowed                        taxes as they come due.
    Claims in Classes 1, 2, 3, 4, and 5,          (f) Payments will commence on the
    respectively, shall be deemed an                  first day of the first month
    Allowed General Unsecured Claim                   following the Effective Date of the
    in Class #9.                                      Plan;
                                                  (g) PRCI shall release its lien as to the
                                                      Calle Almendra #9 Property upon
                                                      satisfaction of the Allowed Class 3
                                                      Claim.
4.   Class 4 – Allowed Secured          No   Yes.   Debtors will satisfy the Class 4 Claim
     Claim of PRCI LOAN CR.,                        via monthly payments as follows:
     LLC (“PRCI”) secured by                         (a) The Allowed Class 4 Claim will be
     Debtor’s Commercial Property.                       in the amount of $95,000.00;
     Class 4 consists of the Allowed                 (b) Payments will be amortized over
     Secured Claim of PRCI Loan                          240 months (20 years);
     CR., LLC., (“PRCI”), which                      (c) Yearly Rate of Interest equal to
     arises from a pre-petition                          5.50%;
     mortgage lien on Debtor’s                       (d) Term: (i) fifty-nine (59) monthly
     Commercial Property. PRCI                           payments in the amount of
     filed Proof of Claims #3, 4, and 5                  $653.49; and (ii) one (1) balloon
     in the cumulative amount of                         payment of any remaining balance
     $1,138,489.11. If allowed, PRCI                     due on or before the last day of the
     will have and Allowed Class 4                       sixtieth month following the
     Claim will be in the amount of                      Effective Date of the Plan;
     $95,000.00. PRCI has also been                  (e) Debtors will maintain the
     scheduled with Secured Claims in                    Commercial Property duly insured
     Classes 1, 2, 3, 4, and 5. PRCI’s                   at all relevant times. Debtors will
     Allowed Claim minus the                             also pay for CRIM taxes as they
     cumulative Secured Allowed                          come due.           Payments will
     Claims in Classes 1, 2, 3, 4, and                   commence on the first day of the
     5, respectively, shall be deemed                    first month following the Effective
     an Allowed General Unsecured                        Date of the Plan;
     Claim in Class #9.                              (h) PRCI shall release its lien as to the
                                                         Commercial        Property      upon
                                                         satisfaction of the Allowed Class 4
                                                         Claim.
5.   Class 5 – Allowed Secured                    Debtors will satisfy the Class 5 Claim
     Claim of PRCI LOAN CR.,                      via monthly payments as follows:
     LLC (“PRCI”) secured by           No   Yes    (a) The Allowed Class 5 Claim will be
     Debtor’s Vacant Lots Property.                    in the amount of $132,000.00;
     Class 5 consists of the Allowed               (b) Payments will be amortized over
     Secured Claim of PRCI, which                      240 months (20 years);
     arises from prepetition mortgage              (c) Yearly Rate of Interest: 5.50%;
     liens on four vacant lots owned               (d) Term: (i) fifty-nine (59) monthly
     by Debtor in Sector Manantiales                   payments in the amount of
     (the “Vacant Land”). PRCI filed                   $908.01 and (ii) one (1) balloon
     Proof of Claims #3, 4, and 5 in                   payment of any remaining balance
     the cumulative amount of                          due on or before the last day of the
     $1,138,489.11. If allowed, PRCI                   sixtieth month following the
     will have an Allowed Class 5                      Effective Date of the Plan;
     Claim in the amount of $132,000.              (e) Debtors will also pay for CRIM
     PRCI’s Allowed Claim minus the                    taxes as they come due;
     cumulative Secured Allowed                    (f) Payments will commence on the
     Claims in Classes 1, 2, 3, 4, and                 first day of the first month
     5, respectively, shall be deemed                  following the Effective Date of the
     an Allowed General Unsecured                      Plan;
     Claim in Class #9.                            (g) Debtors may sale any lot at any
                                                       time and PRCI will release such
                                                       lot from its lien subject to Debtor’s
                                                       payment of 100.00% of net
                                                       proceeds of such sale to Principal
                                                       of the Allowed Class #5 Claim.




6    Allowed Secured      Claim of No       Yes   Debtors shall satisfy the Allowed
     CRIM.                                        Class 6 Claim via forty-eight (48)
      Class 6 consists of the Allowed             monthly payments in the amount of
      Secured Claim of CRIM                       $499.22. The Allowed Class 6 Claims
      (“CRIM”) allegedly secured by               shall be amortized over 48 months and
      the Debtor’s real properties.               payable at a yearly interest rate equal
      CRIM filed Proof of Claim #2                to 5.50%. Payments shall commence
      with an alleged secured portion             on the first day of the 13th month
      in the amount of $21,466.32.                following the Effective Date of the
                                                  Plan.
7.   Class 7 – Allowed Secured No             Yes
                                                    Debtors shall satisfy the Allowed Class
     Claim of Hacienda.                             7 Claim via forty-eight (48) monthly
                                                    payment in the amount of $132.82.
     Class 7 consists of the Allowed                The Allowed Class 7 Claims shall be
     Secured Claim of Departamento                  amortized over 48 months and payable
     de Hacienda (“Hacienda”),                      at a yearly interest rate equal to 5.50%.
     which is allegedly secured by                  Payments shall commence on the first
     the Debtor’s real properties.                  day of the 13th month following the
     Hacienda filed Proof of Claim                  Effective Date of the Plan.
     #7 which alleges a secured
     portion in the amount of
     $5,711.05. If allowed as filed, it
     is projected that Hacienda’s
     Allowed Class 7 Claim will be
     in the amount of $5,711.05.
8.   Class 8 – Allowed Secured No             Yes   Debtors will satisfy the Class 8
     Claim of Oriental.                             Claim via monthly payments
     Class 8 consists of the Allowed                based upon the same terms and
     Secured Claim of Oriental Bank                 conditions as existed pre-petition.
     (“Oriental”), which is allegedly               Payments under the Plan as to
     secured by the Debtor’s 2012                   Class 8 will commence on the
     Toyota Highlander. Oriental                    first day of the second month
     filed Proof of Claim #6 in the                 following the Effective Date of
     amount of $6,821.14. If allowed                the Plan. Payments are estimated
     as filed, it is projected that                 to be in the amount of $423.13
     Oriental’s Allowed Class 8
     Claim will be in the amount of
     $6,821.14.




                                          8
          2. Class of General Unsecured Claims

         General unsecured claims are not secured by property of the estate and are not entitled to
 priority under § 507(a) of the Code. In this Case, Unsecured Claims are classified in Class #9.
 The following chart identifies the Plan’s proposed treatment of the class of claims which contain
 general unsecured claims against the Debtors:

  Class                Description                Insider    Impair                Treatment
                                                              ment


    9       Allowed    General       Unsecured No           Yes         The Allowed Class 9 General
            Claims:                                                     Unsecured Claims, if any, will be
                                                                        satisfied via a cash distribution
            Class 9 consists of: (a) the pre-
                                                                        estimated at $12,000.00 or a 2.50 %
            petition unsecured claims against
                                                                        distribution, on any Allowed Class 5
            the Debtor, to the extent Allowed
                                                                        General        Unsecured         Claim.
            (estimated amount of $23,000.00),
                                                                        Distributions will be made on a
            if any, and (b) any other allowed
            claim which is deemed partially or                          monthly basis commencing on the 1st
            entirely    unsecured     (PRCI’s,                          day of the 61st month following the
            estimated unsecured claim of                                Effective Date of the Plan and
                                                                                                      th

            $427,000.00).     The     Debtors’                          continue thereafter to the 120 month.
            estimate that there will be                                 Monthly payments are estimated to be
            approximately $450,000.00 in                                in the approximate amount of
            unsecured claims.                                           $200.00.


3. Class of Equity Interest Holders

         Equity interest holders are parties who hold an ownership interest (i.e., equity interest) in
 the Debtors. In a corporation, entities holding preferred or common stock are equity interest
 holders. In a partnership, equity interest holders include both general and limited partners. In a
 limited liability company (“LLC”), the equity interest holders are the members. Finally, with
 respect to an individual who is a Debtors, the Debtors is the equity interest holder.

         In this Case, the Debtors’ Equity is classified in Class #10. The following chart sets forth
 the Plan’s proposed treatment of the class of equity interest holders:




                                                  14
  Class                Description                 Insider   Impa                 Treatment
                                                             irme
                                                               nt

 10         Class 10 – Debtor’s Equity:            Yes       Yes    The Debtors will inject, no later than
            Class 10 consists of the Debtor’s                       seven (7) from the Effective Date of the
            equity in property of the Estate                        Plan, $1,000.00 of non-estate assets in
                                                                    the form of “New Value” in exchange
                                                                    for retention of their interest in the
                                                                    property of the estate.



          D. Means of Implementing the Plan

                 1. Source of Payments

          Payments and distributions under the Plan will be funded by the following:

        The Plan establishes that the Plan will be funded from: (a) the “New Value” to be
injected by the Debtor in the amount of $1,000.00 on or before the 7th day following the
Effective Date of the Plan; (b) the cash reserves of the Debtors as of the date of Effective
Date; and (c) the cash-flows generated by the Reorganized Debtors after the Effective Date;
and (d) the secured claims in Classes 1 to 5 will be refinance and/or the real properties sold.
The Debtors cash-flows consist of the business income generated by the Debtors from their
Ferreteria, the professional services income generated by the Debtors from construction work,
and the rental income generated by the Debtors. The Debtors will contribute its cash flows to
fund the Plan commencing on the Effective Date of the Plan and continue to contribute
through the date that Holders of Allowed Class 1 through Class 9 Claims receive the payments
specified for in the Plan. The “New Value” will be funded from the liquidation of non-estate
assets; for example, exempt property. The Debtor’s Schedules presently show that the Debtor
has over $35,000.00 in non-estate property (i.e., exempt assets) which would be available, as
required, to be liquidated to fund the “New Value.”

                 2. Post-confirmation Management

       The Post-Confirmation Manager of the Debtor shall be Mr. Jesus Morales Miranda and Mrs. Dorcas
Nazario Rivera.

          E. Risk Factors

      The proposed Plan has the following risks:

               1.      Income Risk Factor: Although the Debtors believes the Reorganized
Debtors will be able to generate sufficient income subsequent to the Effective Date of the Plan to
make the payments contemplated by the Plan, there is a risk that the income that is projected from
the operation of the Debtors multiple business and/or the rental income will not be sufficient and
thus the Debtors will not achieve the income necessary
                                                15     to enable it to make payments to Creditors.
F. Executory Contracts and Unexpired Leases

       The Plan does not contemplate the Debtor assuming any executory contracts and/or
unexpired leases. That said, the Debtor may continue and in fact expect to continue, renting their
multiple rental properties on a month to month basis. Assumption means that the Debtor has
elected to continue to perform the obligations under such contracts and unexpired leases, and to
cure defaults of the type that must be cured under the Code, if any.

        If you object to the assumption of your unexpired lease or executory contract, the proposed
cure of any defaults, or the adequacy of assurance of performance, you must file and serve your
objection to the Plan within the deadline for objecting to the confirmation of the Plan, unless the
Court has set an earlier time.

       Unless specifically listed and assumed under the Plan, all executory contracts and
unexpired leases will be deemed rejected under the Plan. Consult your adviser or attorney for
more specific information about particular contracts or leases.

        If you object to the rejection of your contract or lease, you must file and serve your
objection to the Plan within the deadline for objecting to the confirmation of the Plan.

        The Deadline for Filing a Proof of Claim Based on a Claim Arising from the Rejection
of a Lease or Contract Is 60 Days from the Rejection of Such Agreement or any other later date
set by the Court. Any claim based on the rejection of a contract or lease will be barred if the proof
of claim is not timely filed, unless the Court orders otherwise.

               G. Tax Consequences of Plan

      Creditors and Equity Interest Holders Concerned with How the Plan May Affect Their
Tax Liability Should Consult with Their Own Accountants, Attorneys, And/Or Advisors.

IV. CONFIRMATION REQUIREMENTS AND PROCEDURES

        To be confirmable, the Plan must meet the requirements listed in §§ 1129(a) or (b) of the
Code. These include, but are not limited to, the requirements that: (a) the Plan must be proposed
in good faith; (b) at least one impaired class of claims must accept the plan, without counting
votes of insiders; (c) the Plan must distribute to each creditor and equity interest holder at least as
much as the creditor or equity interest holder would receive in a chapter 7 liquidation case,
unless the creditor or equity interest holder votes to accept the Plan; and (d) the Plan must be
feasible. These requirements are not the only requirements listed in § 1129, and they are not the
only requirements for confirmation.

       A. Who May Vote or Object

        Any party in interest may object to the confirmation of the Plan if the party believes that
the requirements for confirmation are not met.

                                                  16
        Many parties in interest, however, are not entitled to vote to accept or reject the Plan. A
creditor or equity interest holder has a right to vote for or against the Plan only if that creditor or
equity interest holder has a claim or equity interest that is both (1) allowed or allowed for voting
purposes and (2) impaired.

       In this case, the Plan Proponent believes that Classes 1 through 9 are impaired and that
holders of claims in Classes 1 through 9 are therefore entitled to vote to accept or reject the Plan.
The Plan Proponent believes that the Equity Class, which is Class 10, is unimpaired and that
holders of claims in Class 10, therefore, do not have the right to vote to accept or reject the Plan.

               1. What Is an Allowed Claim or an Allowed Equity Interest?

        Only a creditor or equity interest holder with an allowed claim or an allowed equity
interest has the right to vote on the Plan. Generally, a claim or equity interest is allowed if either
(1) the Debtors has scheduled the claim on the Debtors’s schedules, unless the claim has been
scheduled as disputed, contingent, or unliquidated and/or such claim has been objected to; or (2)
the creditor has filed a proof of claim or equity interest, unless an objection has been filed to
such proof of claim or equity interest. When a claim or equity interest is not allowed, the
creditor or equity interest holder holding the claim or equity interest cannot vote unless the
Court, after notice and hearing, either overrules the objection or allows the claim or equity
interest for voting purposes pursuant to Rule 3018(a) of the Federal Rules of Bankruptcy
Procedure.

         The deadline for filing a proof of claim in this case was October 11,
        2018; and December 3, 2018 for governmental creditors. See, Dk. #5.

               2. What Is an Impaired Claim or Impaired Equity Interest?

        As noted above, the holder of an allowed claim or equity interest has the right to vote
only if it is in a class that is impaired under the Plan. As provided in § 1124 of the Code, a class
is considered impaired if the Plan alters the legal, equitable, or contractual rights of the members
of that class.

               3. Who is Not Entitled to Vote
        The holders of the following five types of claims and equity interests are not entitled to
vote:


               • holders of claims and equity interests that have been disallowed by an order of
               the Court;

               • holders of other claims or equity interests that are not “allowed claims” or
                 “allowed equity interests” (as discussed above), unless they have been
                 “allowed” for voting purposes.

               • holders of claims or equity interests in unimpaired classes;
                                                  17
               • holders of claims entitled to priority pursuant to §§ 507(a)(2), (a)(3), and (a)(8)
               of the Code; and

               • holders of claims or equity interests in classes that do not receive or retain any
                 value under the Plan;

               • administrative expenses.

      Even If You Are Not Entitled to Vote on the Plan, You Have a Right to Object to the
Confirmation of the Plan and to the Adequacy of the Disclosure Statement.

               4. Who Can Vote in More Than One Class

        A creditor whose claim has been allowed in part as a secured claim and in part as an
unsecured claim, or who otherwise hold claims in multiple classes, is entitled to accept or reject a
Plan in each capacity and should cast one ballot for each claim.

       B. Votes Necessary to Confirm the Plan

        If impaired classes exist, the Court cannot confirm the Plan unless (1) at least one
impaired class of creditors has accepted the Plan without counting the votes of any insiders
within that class, and (2) all impaired classes have voted to accept the Plan, unless the Plan is
eligible to be confirmed by “cram-down” on non-accepting classes, as discussed later in Section
IV - B.2.

               1. Votes Necessary for a Class to Accept the Plan

        A class of claims accepts the Plan if both of the following occur: (1) the holders of more
than one-half (1/2) of the allowed claims in the class, who vote, cast their votes to accept the
Plan, and (2) the holders of at least two-thirds (2/3) in dollar amount of the allowed claims in the
class, who vote, cast their votes to accept the Plan.

      A class of equity interests accepts the Plan if the holders of at least two-thirds (2/3) in
amount of the allowed equity interests in the class, who vote, cast their votes to accept the Plan.

               2. Treatment of Nonaccepting Classes

         Even if one or more impaired classes reject the Plan, the Court may nonetheless confirm
the Plan if the nonaccepting classes are treated in the manner prescribed by § 1129(b) of the
Code. A plan that binds nonaccepting classes is commonly referred to as a ‘cram-down plan’.
The Code allows the Plan to bind non-accepting classes of claims or equity interests if it meets
all the requirements for consensual confirmation except the voting requirements of § 1129(a)(8)
of the Code, does not “discriminate unfairly,” and is “fair and equitable” toward each impaired
class that has not voted to accept the Plan.



                                                 18
        You should consult your own attorney if a “cram down” confirmation will affect your
 claim or equity interest, as the variations on this general rule are numerous and complex.

        C. Liquidation Analysis

         To confirm the Plan, the Court must find that all creditors and equity interest holders who
 do not accept the Plan will receive at least as much under the Plan as such claim and equity
 interest holders would receive in a chapter 7 liquidation. A liquidation analysis is attached to
 this Disclosure Statement as Exhibit B.

         This analysis of the Debtors assets and liabilities reveals that the distribution under the
Plan, estimated at no less than $12,000.00 is much larger than the distribution unsecured creditors
would receive via a hypothetical liquidation of the Debtors assets.

        D. Feasibility

         The Court must also find that confirmation of the Plan is not likely to be followed by the
 liquidation, or the need for further financial reorganization, of the Debtors or any successor to
 the Debtors, unless such liquidation or reorganization is proposed in the Plan.

                1. Ability to Initially Fund Plan

         The Plan Proponent believes that the Debtors will have enough cash on hand on the
 effective date of the Plan to pay all the claims and expenses that are entitled to be paid on that
 date. The Debtors estimates that at the time of an Order of Confirmation, which for purposes of
 this Disclosure Statement is estimated at some time around May 2019, the Debtors will have in
 excess of $5,000.00 in liquid assets to fund the payments due on the Effective Date of the Plan.
 A table showing the projected amount of cash on hand on the effective date of the Plan, and the
 sources of that cash are attached to this disclosure statement as Exhibit C.




                                                    19
               2. Ability to Make Future Plan Payments and Operate Without Further
                  Reorganization

       The Plan Proponent must also show that it will have enough cash over the life of the Plan
to make the required Plan payments.

        The Plan Proponent has provided a 5-year Cash Flow Projection, which is attached as
Exhibit C. Here, the Debtors’ post confirmation projected cash-flows demonstrate the
sustained ability to continue to make payments on the claims reorganized through the Plan in
addition to all other household payments and expenses of the Debtors. Moreover, the Debtor
projects that on or before the 60th month following the Effective Date of the Plan the Debtors – as
a result of principal reduction and an increase in the value of the real properties – the Debtor will
be in a position to sell and/or refinance the claims in Classes 1 through 5 in order to satisfy the
Balloon Payments referenced therein. This contemplation is also reflected in Year #5 of the
Projections.
        Accordingly, from the projected Effective Date of the Plan (projected May of 2019 through
May of 2024 (i.e., 5-years), the Debtors projects positive cash-flows which serve as evidence the
feasibility of the Debtors’ Plan.
You Should Consult with Your Accountant or other Financial Advisor If You Have Any
Questions Pertaining to These Projections.

V. EFFECT OF CONFIRMATION OF PLAN

       A. DISCHARGE OF DEBTORS

                Discharge. Confirmation of this Plan does not discharge any debt provided for in
this Plan until the court grants a discharge on completion of all payments under this Plan, or as
otherwise provided in § 1141(d)(5) of the Code. The Debtor will not be discharged from any debt
excepted from discharge under § 523 of the Code, except as provided in Rule 4007(c) of the Federal
Rules of Bankruptcy Procedure.

       B. Modification of Plan

        The Plan Proponent may modify the Plan at any time before confirmation of the Plan.
However, the Court may require a new disclosure statement and/or re-voting on the Plan. The
Plan Proponent may also seek to modify the Plan at any time after confirmation only if (1) the Plan
has not been substantially consummated and (2) the Court authorizes the proposed modifications
after notice and a hearing.

        Upon request of the Debtors, the United States trustee, or the holder of an allowed
unsecured claim, the Plan may be modified at any time after confirmation of the Plan but before
the completion of payments under the Plan, to (1) increase or reduce the amount of payments under
the Plan on claims of a particular class, (2) extend or reduce the time period for such payments, or
(3) alter the amount of distribution to a creditor whose claim is provided for by the Plan to the
extent necessary to take account of any payment of the claim made other than under the Plan.


                                                20
       C. Final Decree

        Once the estate has been fully administered, as provided in Rule 3022 of the Federal Rules
of Bankruptcy Procedure, the Plan Proponent, or such other party as the Court shall designate in
the Plan Confirmation Order, shall file a motion with the Court to obtain a final decree to close the
case. Alternatively, the Court may enter such a final decree on its own motion.

                                                             Respectfully Submitted,



                                                             /s/ Jesus Morales Miranda
                                                             Jesus Morales Miranda

                                                            /s/ Dorcas Nazario Rivera
                                                            Dorcas Nazario Rivera

                                                             Counsel for Debtors:
                                                             /s/Jesús E. Batista Sánchez, Esq.
                                                             The Batista Law Group, PSC
                                                             P.O. Box 191059
                                                             San Juan, PR. 00919
                                                             Ph: (787) 620-2856
                                                             Fax: (787) 625-0259




                                                 21
